
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH 



NO. 2-06-114-CV

DOLORES J. SMOOT AND ALL OCCUPANTS	APPELLANTS



V.



MORTGAGE ELECTRONIC REGISTRATION	APPELLEES

SYSTEMS, INC. SOLELY AS NOMINEE 

FOR LENDER AND LENDER'S SUCCESSORS 

AND ASSIGNS	





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FROM COUNTY COURT AT LAW NO. 2 
OF DENTON COUNTY

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MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

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On January 5, 2007, we notified appellants that their brief had not been filed as required by Texas Rule of Appellate Procedure 38.6(a). &nbsp;T
EX.
 R. A
PP.
 P. 38.6(a). &nbsp;We stated we would dismiss the appeal for want of prosecution unless appellants or any party desiring to continue this appeal filed with the court within ten days a response showing grounds for continuing the appeal. &nbsp;We have not received any response.

Because appellants’ brief has not been filed, we dismiss the appeal for want of prosecution. &nbsp;
See
 T
EX
. R. A
PP
. P. 38.8(a), 42.3(b).

Appellants shall pay all costs of this 
appeal, for which let execution issue.



PER CURIAM 		





PANEL D: &nbsp;DAUPHINOT, HOLMAN, and GARDNER, JJ.



DELIVERED: &nbsp;January 25, 2007

FOOTNOTES
1:See 
Tex. R. App. P. 47.4.




